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                              United States District Court
                                 District of Nebraska

INFO GROUP, INC., infoUSA, Inc., and                     Case No. 8:14-cv-49
infoUSA Marketing, Inc., Delaware                       Hon. John M. Gerrard, J
corporations,                                            Hon. Susan Bazis, MJ


              Plaintiffs,

      v.                                         Declaration of Christian Williams

DatabaseUSA.com LLC, et ai,
A Nevada Limited Liability Company,
and Vinod Gupta,

             Defendants.

    I, Christian Williams, declare under penalty of perjury, pursuant to 28 USC § 1746
that the following statements are true:


1.    My name is Christian Williams. I have personal knowledge of all facts recited in
      this Declaration and I am competent to testify about these facts.

2.    On July 10, 2018 I searched for and obtained true, accurate and genuine copies of
      the following documents from the Nebraska Secretary of State's website,
      https://www.nebraska.gov/sos/corp/corpsearch.cgi.

      2.1.   Search result for the Nebraska Secretary of State's website DatabaseUSA.com,
             LLC.

3.    I declare under penalty and perjury under the laws of the United States of America
      that the foregoing is true and correct.

      Executed in Omaha, State of Nebraska on July 10,2018
